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16 Navient Solutions, LLC; Earnest, LLC; and The
     Navient Corporation Executive Severance Plan for Senior
17 Officers
18                                   UNITED STATES DISTRICT COURT
19                               NORTHERN DISTRICT OF CALIFORNIA
20
21    LOUIS BERYL,                                         Case No.: 3:20-cv-05920-LB
22                            Plaintiff,                   JOINT SUBMISSION REGARDING
                                                           TRIAL OF ERISA CLAIMS
23                    vs.
24    NAVIENT CORPORATION, NAVIENT                         Hon. Laurel Beeler
      SOLUTIONS, LLC, EARNEST, LLC, and the
25    NAVIENT CORPORATION EXECUTIVE
      SEVERANCE PLAN FOR SENIOR
26    OFFICERS EFFECTIVE MAY 1, 2014
27                            Defendants.
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                              JOINT SUBMISSION REGARDING TRIAL OF ERISA CLAIMS
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 1          Plaintiff Louis Beryl and Defendants Navient Corporation, Navient Solutions, LLC, Earnest,

 2 LLC, and The Navient Corporation Executive Severance Plan for Senior Officers (collectively
 3 “Defendants”) submit this Joint Submission Regarding Trial of the ERISA claims asserted by Mr.
 4 Beryl:
 5          I.      Standard of Review

 6          The Parties stipulate that the standard of review applicable to Plaintiff Beryl’s claim for the

 7 payment of benefits under ERISA section 502(a)(1)(B) is to be de novo. The Parties differ,
 8 however, on the impact of this stipulation on the admissibility of certain proposed trial exhibits.
 9               A. Plaintiff’s Positions

10          Mr. Beryl understands that Defendants intend to argue that certain trial exhibits are no

11 longer relevant because Defendants have stipulated to the de novo standard of review for the ERISA
12 claims. Mr. Beryl disagrees. The exhibits in question show Mr. Beryl’s efforts to obtain his
13 severance benefits (both pursuant to his offer letter and the ERISA plan) and to obtain an
14 explanation from Defendants as to why they asserted that they had cause to terminate his
15 employment. They also show Defendants’ explanation for why they believed that they had cause to
16 terminate Mr. Beryl and Defendants’ non-responsiveness to Mr. Beryl’s assertion of his contractual
17 rights. These facts are relevant to claims that will be tried to the jury and, as such, should be
18 admitted.
19               B. Defendants’ Position

20          It is Defendants’ position that because the Parties are stipulating to a de novo standard of

21 review on the question of whether Mr. Beryl is entitled to benefits under the terms of the Navient
22 Corporation Executive Severance Plan for Senior Officers, the documents related to the denial of
23 his claim and his subsequent appeal of that denial are irrelevant, unfairly prejudicial, unnecessarily
24 cumulative, and a waste of the Court’s and the Jury’s time. Proposed exhibits 19 through 22, as
25 well as 34, should, therefore be excluded pursuant to Federal Rules of Evidence 401 and 403.
26 Defendants intend to file a Motion in Limine on this issue for the Court’s consideration.
27 / / /
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 1            II.      Findings of Fact

 2            The Court has asked the Parties to brief the Court on whether the Jury’s factual

 3 determinations are binding on the Court when it is considering Plaintiff Beryl’s claim for the
 4 payment of benefits under ERISA section 502(a)(1)(B). Based on the Ninth Circuit’s holding in
 5 Teutscher v. Woodson, 835 F. 3d 936 (9th Cir. 2016), the Parties are in agreement that, with respect
 6 to common issues of fact, the Court is bound by the factual findings of the Jury.
 7
 8 Dated: October 20, 2022                         VENTURA HERSEY & MULLER LLP
 9
10                                          By:     /S/ Daniel J. Muller
                                                   DANIEL J. MULLER
11                                                 Attorneys for Plaintiff Louis Beryl

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13 Dated: October 20, 2022                         JACKSON LEWIS P.C.
14
15                                          By:     /S/ Donald P. Sullivan
                                                   DONALD P. SULLIVAN
16                                                 Attorneys for Defendants
17   4876-2479-8522, v. 1

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                                JOINT SUBMISSION REGARDING TRIAL OF ERISA CLAIMS
